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 I   Daniel C. Green
 2   Racine Olson Nye & Budge, Chartered
     PO Box 1391
 J   Pocatello, Idaho 83204
     ID ISB No. 3213
 4   Fax: 208-232-6109
     dan@racinelaw.net
 5
     Tel: 208-232-6101
 6
     Attomeys for Plaintiff
 7   J & J Sports Productions, Inc.

 8                                    T]NITED STATES DISTRICT COURT
                                             DISTRICT OF IDAHO
 9

10   J   &   J Sports Productions, lnc,                           Case No.:

11                      Plaintiff,
                                                                  COMPLAINT
t2              vs.
13

t4   Jacob Eck, individually and Sons of Thunder
     Academy - Idaho, Inc., an Idaho corporation,
15   dba Sons of Thunder Academy,

16
                        Defendants.
t7
18
                COMES NOW Plaintiff, J & J Sports Productions, Inc. and for its cause of action against
t9
     the above named Defendants states and alleges as follows:
20

2t                                             JURISDICTION
22

l5   1.         Jurisdiction is founded on the existence of a question arising under particular

     statutes. This action is btought pursuant to several federal statutes, including the Communications
24
     Act of 1934, as amended, Title 47 U.S.C. 605, et seq., and The Cable & Television Consumer
25
     Protection and Competition Act of 1992, as amended, Title 47 U.S. Section 553, e, .teq.
26

27
     2.         This Court has jurisdiction of the subject matter of this action pusuant to 28 U.S.C
28   Section 1331, which states that the District Courts shall have original jurisdiction ofall civil


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      actions arising under the Constitution, laws, or treaties, ofthe United States. This Court has subject
 1

      matter jurisdiction over the state law claims pursuant               to 28 U.S.C. $ 1367 (supplemental
 2
      jwisdiction).
 -)


 4    3.      This Court has personal jurisdiction over the parties in this action as a result of the
 5    Defendant's wrongful acts hereinafter complained of which violated the Plaintiffs rights as the

 6    exclusive commercial domestic distributor of the televised frght Program hereinafter set forth at
      length. The Defendant's wrongful acts consisted                 of the interception,   reception, publication,
 7
      dirulgence, display, exhibition, and tortious conversion of said property of Plaintiff within the
 8
      control of the Plaintiff in the State of Idaho.
 9
                                                        VENUE
10

ll 4.         Pursuant to Title 47 U.S.C. Section 605, venue is proper in the District of Idaho because a

      substantial part ofthe events or omissions giving rise to the claim occurred in this District.
12

13
                                                  THE PARTIES
14
      5.      Plaintiff, J & J Sports Productions, Inc. is, and at all relevant times mentioned was, a
15    Califomia Corporation with its principal place ofbusiness located at 950 South Bascom Avenue,
16    Suite 3010, San Jose, Califomia 95128.

17

18
      6.      Plaintiff is informed and believes, Defendant Jacob Eck was an owner, and/or operator,
      and/ or licensee, and/or permittee, and/or person in charge, and/or shareholder and/or President,
19
      and/or an individual with dominioq control, oversight and management                      of the commercial
20                                                                                                                of
      establishment known as Sons of Thunder Academy              -   Idaho, Inc. an Idaho corporation dba Sons
21    Thunder Academy (hereafter "Sons of Thunder Academy") operating at 168 W Bridge Street,
22    Blackfoot, Idaho 8322   1.


23

24
      7.      Plaintiff is informed and believes, and alleges thereon that on Saturday, May 2, 2015 (the
      night of the Program at issue herein, as more specifically defined in Paragraph 12), Defendant
25
      Jacob Eck had the right and ability to supervise the activities ofSons of Thunder Academy, which
26
      included the unlawful interception of Plaintiff    s   Program.
27

28


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     8.      Plaintiff is informed and believes, and alleges thereon that on Saturday, May 2,2015 (the
 I
     night of the Program at issue herein, as more specifically defined in Paragraph 12), Jacob Eck, had
 2
     the obligation to supervise the activities of Sons of Thunder Academy, which included the
 3
     unlawf,rl interception of Plainltifl   s   Prograrn, and, among other responsibilities, had the obligation
 4   to ensure that Sons of Thunder Academy operated lawfi.rlly at all times.

 5

 6   9.      Plaintiff is informed and believes, and alleges thereon tlat on Saturday, May 2, 2015 (the
     night of the Progran at issue herein, as more specifically defined in Paragraph 12), Defendant
 7
     Jacob Eck, specifically directed or permitted the employees, offrcers or shareholders of Sons                    of
 8
     Thunder Academy to unlanfirlly intercept and broadcast Plaintiffs Program at Sons of Thunder
 9
     Academy, or intentionally intercepted, and/ or published the Program at Sons                           of   Thunder
10   Academy himself. The actions ofthe employees, officers and/or shareholders of Sons of Thunder
1l   Academy are directly imputable             to   Defendant Jacob Eck, by virtue             of his   acknowledged

12   responsibility for tlre operation of Sons of Thunder Academy.

13
     10.     Plaintiff is informed and believes, and alleges thereon that the unlar+firl broadcast of
14
     Plaintiffs Program, as supervised and/or authorized by Defendant Jacob Eck, resulted in
15
     increased profits for Sons of Thunder Academy.
t6
                                                           COUNT        I
t7
                                   (Violation of Title 47 U.S.C. Section 605)
18

19   11.     Plaintiff J   & J Sports Productions, tnc., hereby                  incorporates by reference   all of   the

20   allegations contained in paragraphs        1- 10,   inclusive, as though set forth herein at length.

2t
22
     12.     Pursuant to contract, Plaintiff J       & J Sports Productions, Inc., was granted the exclusive
     nationwide commercial distribution          (closed-circuit) rights to "The Fight of the century" Floyd
Z5
     Mqryteather Jr. v. Manny Pacquiao Championship Fight, telecast nationwide on saturday, May 2,
24
     2015 (this included all under-card bouts and fight commentary encompassed in the television
25   broadcast of the event, hereinafter referred to as lhe " Program").

26

27   13.     Pursuant to contract, Plaintiff J           & J Sports         Productions, lnc., entered into subsequent

     sublicensing agreements with various commercial entities throughout North America including
28


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     entities within the State of Idaho, by which      it granted these entities limited sublicensing rights,
 1

     specifically the rights to publicly exhibit the Program within their respective commercial
 2
     establishments in the hospitality industry (i.e., hotels, racetracks, casinos, bars, tavems, restaurants,
 J
     social clubs, etc.).
 4

 5   14.      As a commercial distributor and licensor of sporting events, including the Program,

 6   Plaintiff J   & J Sports Production,    Inc., expended substantial monies marketing, advertising,
     promoting, administering, and transmitting the Program to its customers, the aforementioned
 7
     commercial entities.
 8

 9
     15.      With full knowledge thal the Progra,n was not to be intercepted, received, published,
l0   divulged, displayed, and/or exhibited by commercial entities unauthorized to do so, the above
l1   named Defendants, either through direct action or through actions of employees or agents directly

12   imputable to Defendant (as outlined in paragraphs 6-10 above), did unla*frrlly intercept, receive,
     publish, divulge, display, and/or exhibit the Program at the time of its transmission at Defendants'
13
     commercial establishment in Blackfoot, Idaho located at 168 West Bridge Street, Blackfoot, Idaho
14
     83221.
15

16   16.      Said unauthorized interception, reception, publication, exhibition, dimlgence, display,
t7   and/or exhibition by the Defendants was done willfully and for purposes of direct and/or indirect

18   commercial advantage and/or private financial gain.

19
     17.      Title 47 U.S.C. Section 605, el seq., prohibits the rurauthorized publication or use of
20
     communications (such as the transmission          of   the Program for which Plaintiff J    & J Sports
21
     Productions, Inc., had the distribution rights thereto).
22

23   18.      By reason of the aforesaid mentioned conduct, the Defendants violated Title 47 U.S.C.
24   Section 605, eI seq.

25

26
     19.      By reason ofthe Defendants' violation ofTitle 47 U.S.C. Section 605, et seq'Plaintiff J &
     J Sports Production, Inc., has the private   right of action pursuant to Title 47 U.S.C. Section 605.
27

28
     20.      As the result of the aforementioned Defendants' violation of Title 47 U.S.C. Section


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     605, and pusuant to said Section 605, Plaintiff J     & J Sports    Productions, Inc., is entitled to the
 1

     following from each Defendant:
 2

 3                    (a)    Statutory damages for each violation of in an amount to $10,000 pursuant
 4                           IoTitle 47 U.S.C. Section 605(eX3XC)(iXII); and also
 5


 6
                     (b)     Statutory damages for each   willful violation in   an amount to

                             $100,000.00 pursuant to Title 47 U.S.C. 605(e)(3)(C)(ii), and also
 7

 8
                     (c)     the recovery of full costs, including reasonable attomeys' fees, pursuant to
 9
                             Tifle 47 U.S.C. Section 605(eX3XBXiiD.
10

11           WHEREFORE, Plaintiff prays for judgment as set forth below.

12

13
                                                  COUNT         II
                                  (Violation of Title 47 U.S.C. Section 553)
14

15
     21.     Plaintifs hereby incorporates by reference all ofthe allegations contained in
16   paragraphs l-20, inclusive, as though set forth herein at length.

t7
l8   22.     The unauthorized interceptions, reception, publication, divulgence, display, and/or

     exhibition   of lhe Program by the     above named Defendants was prohibited by Title 47 U.S.C
19
     Section 553, er seq.
20

2l
     23.     By reason of the aforesaid mentioned conduct, the aforementioned Defendants, violated
22
     Title 47 U.S.C. Section 553, et seq.
23

24   24.     By reason of the Defendants' violation of Title 47 U.S.C. Section 553, et seq., Plunliff J &

25   J Sports Productions, Inc., has the private right ofaction pursuant to Title 47 U.S.C. Section 553.


26
     25.     As the result of the aforementioned Defendants' violation ol Title 47 U.S.C. Section 553,
27
     PlaintiffJ & J Sports Productions, Inc., is entitled to the following from each Defendant:
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                                                       Paqe 5
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               (a)     Statutory damages for each violation in an amount to
 I
                       $10,000.00 pursuant to Title 47 U.S.C. $ 553(cX3)(AXii); and also
 2

 J
               (b)     Statutory damages for each     willfirl violation in   an amount to
 4                     $50,000.00 pursuant to Title 47 U.S.C. $ 553(c)(3XB); and also

 5

 6
                (c)    the recovery    of full   costs pursuant       to Title 47 U.S.C. Section 553
                       (c)(2)(C); and also
 7

 8
               (d)     and in the Courts discretion, reasonable attomeys'
 9
                       fees, pursuant to Title 47 U.S.C. Section 553 (oX2XC).
10

11      WHEREFORE, Plaintiff prays for judgment             as set   forth below.
t2
        As to the First Count:
l3

t4
               For statutory damages in the amount of $110,000.00 against the Defendants,
15
               and
16      2      For reasonable attomeys' fees as mandated by statute, and
17      3      For all costs of suit, including but not limited to filing fees, service   of
18             process fees, investigative costs, and

        4      For such other and further relief as the Court may deem        just   and proper;
l9
20
        As to the Second Count:
21

))
               For statutory damages in the amount of$60,000.00 against the Defendants,
23
               and;
24             For reasonable attomeys' fees as may be awarded in the Court's
        2

25             discretion pursuant to statute, and;

26      3      For all costs of suit, including but not limited to filing fees, service of process fees,

               investi gative costs, and;
27
        4      For such other and flrther reliefas this Court may deem just and proper.
28


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 I
        DATED this   fJ   day of   April,2018.

                                                 RACINE, OLSON, NYE &
 2
                                                 BUDGE, CHARTERED
 3

 4
                                                 B
 5
                                                              DANIEL C. GREEN
 6
                                                              Attomeys for Plaintiff
                                                              J & J Sports Productions, Inc.
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